UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

WILLIAM B. RECARDE and DOROTHY A. Case No.: 5:16-cv-00806-LS

RECARDE,
Plaintiffs,
-against-

SANTANDER BANK, N.A. f/k/a
SOVEREIGN BANK, N.A.,

Defendant.

 

 

DEFENDANT SANTANDER BANK, N.A.’S
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS

 

On the Brief:

Ken S. Massey, Esq. (Parker Ibrahim & Berg LLC)

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Defendant Santander Bank, N.A., f/k/a Sovereign Bank, N.A. (‘“Santander” or
“Defendant’’), respectfully submits this Memorandum of Law in support of its Motion to Dismiss
the Complaint of Plaintiffs William B. Recarde and Dorothy A. Recarde (“Plaintiffs”) with
prejudice pursuant to Federal Rules 12(b)(1) and 12(b)(6).

PRELIMINARY STATEMENT

In this action, Plaintiffs impermissibly seek an end-run around both a state court
foreclosure action and quiet title action in claiming — as they did in both state court actions — that
they rescinded their mortgage under the Truth in Lending Act (“TILA”). The gravamen of the
Complaint is that Plaintiffs’ purported “rescissions” of the mortgage in 2012 and 2015 have
absolved Plaintiffs from any obligations under the debt and entitle them to a “free house.” See
Compl., 31. This action represents Plaintiffs’ third bite at their purported TILA rescission
claim, which has already been rejected twice before in state court.

The Complaint fails as a matter of law for at least three reasons. First, the prior state
court adjudications deprive this Court of subject matter jurisdiction under the Rooker-Feldman
doctrine because this Court cannot serve as the appellate court of the state court proceedings.
Second, even if this Court did have jurisdiction, the Complaint fails to state a claim because the
state court determinations prohibit the relitigation of the TILA claims. Finally, the Complaint
fails to state a claim because the TILA claim is plainly time-barred. Therefore, the Complaint
should be dismissed in its entirety and with prejudice.

STATEMENT OF RELEVANT FACTS

Plaintiffs executed a promissory note (“Note”) and mortgage (“Mortgage”) on February

10, 2006 in favor of Sovereign Bank in the amount of $295,000.00. The Mortgage provided

Sovereign Bank a lien against Plaintiffs’ property at 277 West Shady Road, Kirkwood,

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Pennsylvania, which is in Lancaster County (“Property”). See Compl., §§ 1-2. Copies of the
Note and Mortgage are attached to Plaintiffs’ Complaint as Exhibits A and B.

Although Plaintiffs had not paid off their mortgage loan, they sought to mark their debt as
satisfied by filing a Satisfaction of Mortgage with the Lancaster County Recorder of Deeds on
February 29, 2012. On February 5, 2013, Sovereign Bank, N.A., the predecessor of Santander, |
filed a Complaint to Quiet Title and to Strike the Satisfaction in the Lancaster County Court of
Common Pleas (No. 13-01144, “Quiet Title Action’). See id., 18. Plaintiffs filed an Answer
with defenses and counterclaims on March 5, 2013, raising, inter alia, that they submitted an
“Affidavit of Revocation” that sought to rescind the Mortgage as of April 9, 2012. See Quiet
Title Counterclaims, {{] 41-42, attached hereto as Exhibit 1. On November 1, 2013, the Court
granted the relief sought by Santander and ordered the Lancaster County Recorder of Deeds to
strike the Satisfaction (“Quiet Title Order”), thereby denying Plaintiffs’ rescission claim. A copy
of the Quiet Title Order is attached as Exhibit 2. Plaintiffs did not seek reconsideration or file an
appeal of the Quiet Title Order.

On April 22, 2014, Santander filed a foreclosure action in the same court due to
Plaintiffs’ failure to make payments due under the Mortgage (No. 14-03462, “Foreclosure
Action”). See Compl., J 18. Plaintiffs’ primary defense to the Foreclosure Action — which they
impermissibly seek to relitigate through the instant action — is that they twice rescinded the
Mortgage under the TILA. Plaintiffs attempted the first such rescission in the aforementioned
April 9, 2012 “revocation,” which occurred over six years after executing the Mortgage. See
Compl., ff] 13, 26, 28, 37, 45 (the revocation is attached as Exhibit 3). Two years later, Plaintiffs

again submitted a purported rescission, which was filed in the Foreclosure Action on May 15,

 

' Sovereign Bank, N.A. became known as Santander Bank, N.A. effective October 23, 2013. A true and correct
copy of the OCC Certification of National Bank Title Change is attached hereto as Exhibit 6.

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2015. See id., J 26, 37, 45 (Plaintiffs cite April 23, 2015 as the date of the second rescission,
which is attached as Exhibit 4).

The Lancaster County Court of Common Pleas properly rejected Plaintiffs’ TILA
rescission claims in the Foreclosure Action. This Court awarded summary judgment to
Santander on January 6, 2016, finding that the 2012 and 2015 rescissions were time-barred under
the three-year statute of limitations of the TILA, which expired in February 2009. (See pages 5-
6 of the Foreclosure Order, a copy of which is attached as Exhibit 5.) The court entered a final
judgment on January 26, 2016, fixing the judgment amount as $330,217.86. As part of their
appeal of the Foreclosure Order, Plaintiffs’ Concise Statement of Errors Complained of on
Appeal is due on March 21, 2016.

LEGAL ARGUMENT

A. Standard of Review

Under Rule 12(b)(1) of the Federal Rules of Civil Procedure, a party may move to have
the court dismiss an opposing parties pleading for lack of subject matter. Whether there is
subject matter jurisdiction over an action “is a legal question over which we exercise plenary
review.” Nat'l Union Fire Inc. Co. v. City Savings, F.S.B., 28 F.3d 376, 383 (3d Cir. 1994).

Under Rule 12(b)(6), a complaint may be dismissed “‘for failure of the pleading to state a
claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To withstand a motion to
dismiss, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to
relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint that contains only “labels and
conclusions” or “a formulaic recitation of the elements of a cause of action will not do.”
Twombly, 550 U.S. at 555. Nor will a complaint that contains only “naked assertion[s]” without

“further factual enhancement.” /d. at 557.

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Courts may consider “exhibits attached to the complaint, matters of public record, as well
as undisputedly authentic documents if the complainant’s claims are based upon these
documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010); see also Pension Benefit
Guar, Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993) (considering a
purchase and sales agreement attached as an exhibit to the motion, but not the complaint, when
the plaintiff's claims relied on the agreement); Chester County Intermediate Unit v. Penna. Blue
Shield, 896 F.2d 808, 812 (3d Cir. 1990) (courts may examine documents or exhibits that are
attached to or described in the complaint).

B. The Complaint Must Be Dismissed Under The Rooker-Feldman Doctrine

By filing the Complaint, Plaintiffs request that this Court overturn the Quiet Title Order
and Foreclosure Order of the Lancaster County Court of Common Pleas. This Court, however, is
precluded from unwinding the state court judgment under the Rooker-Feldman doctrine, and
must therefore divest itself of subject matter jurisdiction under Rule 12(b)(1).

The Rooker-Feldman doctrine is based on the proposition that federal district courts are
courts of original, not appellate, jurisdiction, and lack subject matter jurisdiction to review final
judgments entered by a state court. See Madera v. Ameriquest Mortgage Co. (In re Madera),
586 F.3d 228, 232 (3d Cir. 2009). Only the United States Supreme Court possesses such
appellate jurisdiction. See id. The doctrine therefore prevents “cases brought by state-court
losers complaining of injuries caused by state-court judgments rendered before the district court
proceedings commenced and inviting district court review and rejection of those judgments.”
Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005). Foreclosure
judgments are precisely the type of state court judgment for which the Rooker-Feldman doctrine
precludes the exercise of federal court jurisdiction. See In re Madera, 586 F.3d at 232 (declining

to exercise jurisdiction over a mortgage borrower’s TILA rescission claim because that claim

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was “inextricably intertwined with the [state court] foreclosure judgment”); Jn re Washington,
469 B.R. 587, 594-595 (Bankr. W.D. Pa. 2012) (court prohibited from exercising subject matter
Jurisdiction over debtor’s objection to lender’s proof of claim because such a ruling would
invalidate a state court foreclosure judgment).

Dismissal of a federal claim for lack of subject matter jurisdiction under the Rooker-
Feldman doctrine is appropriate when (a) the federal plaintiff lost in state court; (b) the plaintiff
complains of injuries caused by the state court judgment; (c) that judgment was rendered prior to
the federal suit being filed; and (d) the plaintiff is inviting the federal court to review and reject
the state judgment. See Great Western Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d
159, 166 (3d Cir. 2010) (citing Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,
284 (2005)). Here, the Complaint satisfies all of these elements and, therefore, must be
dismissed pursuant to the Rooker-Feldman doctrine.

First, Plaintiffs lost in both state court actions. See Compl, J 18. In the Quiet Title
Order, the state court rejected Plaintiffs’ TILA rescission claim — the very same claim Plaintiffs
make here — and granted Santander’s request to quiet title. In the Foreclosure Order, the state
court upheld Santander’s request to foreclose the Mortgage, which Plaintiffs ask this Court to
rescind. Moreover, the state court rejected Plaintiffs’ TILA claim, finding it was time-barred.

Second, Plaintiffs complain that they have been damaged by the state court’s refusal to
recognize their purported TILA rescissions. See id., { 18 (claiming damage to Plaintiffs’ credit);
4] 31 (claiming entitlement to a “free house” due to their TILA rescissions). Indeed, Plaintiffs
request that this Court overturn the “lower Courts,” i.e., the Lancaster County Court of Common
Pleas, which “misinterpreted [TILA] § 1635.” /d., § 40. The Rooker-Feldman doctrine,

however, prohibits the second-guessing of state court orders, which Plaintiffs seek here.

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Third, the Lancaster County Court of Common Pleas issued the Quiet Title Order on
November 1, 2013 and the Foreclosure Order on January 6, 2016 — both of which precede the
present Complaint.

For the foregoing reasons, this Court should deny Plaintiffs’ collateral attack on the state
court Quiet Title Order and Foreclosure Order for lack of jurisdiction under Rule 12(b)(1).

C. The Complaint Must Be Dismissed Under the Res Judicata and Collateral
Estoppel Doctrines

This Court is also precluded from unwinding the state court judgment under the doctrines
of res judicata and collateral estoppel, and should therefore dismiss the Complaint as a matter of
law under Rule 12(b)(6). Res judicata, which is also known as claim preclusion, “protect[s]
litigants from the burden of relitigating an identical issue with the same party or his privy and. . .
promotfes] judicial economy by preventing needless litigation.” Post v. Hartford Ins. Co., 501
F.3d 154, 169 (3d Cir. 2007) (quoting Parklane Hosiery Co. v. Shore, 439 U.S. 322, 327 (1979)).
Res judicata requires the coalescence of three factors: “(1) a final judgment on the merits in a
prior suit involving (2) the same parties or their privies and (3) a subsequent suit based on the
same cause of action.” Lubrizol Corp. v. Exxon Corp., 929 F.2d 960, 963 (3d Cir. 1991). Res
judicata applies to claims that were actually litigated as well as those claims that “could have
been brought.” Post, 501 F.3d at 169.

Similarly, collateral estoppel, otherwise known as issue preclusion, prevents parties from
“litigating again the same issues when a court of competent jurisdiction has already adjudicated
the issue on its merits, and a final judgment has been entered as to those parties and their
privies.” Witkowski v. Welch, 173 F.3d 192, 198 (3d Cir. 1999). “Federal courts give preclusive
effect to issues decided by state courts, to ‘not only reduce unnecessary litigation and foster

reliance on adjudication, but also promote the comity between state and federal courts that has

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been recognized as a bulwark of the federal system.”” Metro. Edison Co. v. Pa. PUC, 767 F.3d
335, 350 (3d Cir. 2014) (quoting Allen v. McCurry, 449 U.S. 90, 95-96 (1980)). Under
Pennsylvania law, collateral estoppel will prevent the relitigation of an issue when (1) a prior
case decided the identical issue to the one presented in the current action; (2) there was a final
adjudication on the merits; (3) the party asserting collateral estoppel was a party or in privity
with a party in the prior case; (4) the party against whom the collateral estoppel is asserted had a
full and fair opportunity to litigate the issue in the prior case; and (5) the determination in the
prior case was essential to the judgment. See id. at 351 (citing Office of Disciplinary Counsel v.
Kiesewetter, 889 A.2d 47, 50-51 (Pa. 2005)).

As applied here under the res judicata analysis, the TILA rescission claim must be
dismissed. Both the Quiet Title Action and the Foreclosure Action involved the same parties or
the privy of Santander. Both state court actions resulted in a judgment on the merits which
necessarily involved the same TILA claim Plaintiffs now raises in this action. Thus, res judicata
prohibits the relitigation of the TILA cause of action which Plaintiffs have again set forth in the
Complaint.

For similar reasons, the TILA rescission claim is barred under collateral estoppel. The
prior Quiet Title Action and Foreclosure Action both decided the identical TILA issue now
presented in the Complaint in issuing their respective final orders. Had either proceeding
determined that Plaintiffs held a valid rescission claim, it would have necessarily denied
Santander’s requested relief to either quiet title or foreclose on the Property. All actions have
involved the same parties or the privy of Santander. Additionally, Plaintiffs had a full and fair
opportunity to litigate the purported rescission claim, raising it as either a New Matter defense or
a counterclaim in each action. Based on the foregoing, Plaintiffs should be collaterally estopped

from asserting the same TILA issue in this federal action. Preventing additional and unnecessary

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TILA litigation and allowing Santander to rely on the state court adjudications will serve the
precise interests that the collateral estoppel doctrine was designed to protect. See Metro. Edison
Co., 767 F.3d at 350.

For the foregoing reasons, Plaintiffs should be estopped from relitigating their TILA
rescission claim in this federal action. The Complaint should accordingly be dismissed for
failure to state a claim under Federal Rule 12(b)(6).

D. The Complaint Must Be Dismissed For Failure To State A Timely TILA Claim

Res judicata compels dismissal of those claims which were not but could have been
brought in a prior action. Even if Plaintiffs had not previously raised the TILA rescission claim
and were now permitted to assert the claim for the first time, however, the Complaint should still
be dismissed because the TILA claim is time-barred.

As stated in the Foreclosure Order, actions for rescission under TILA based on improper
material disclosure must be brought within three years after the consummation of the mortgage.
See 15 U.S.C. § 1635(f) (“obligor’s right of rescission shall expire three years after the date of
consummation of the transaction or upon the sale of the property, whichever occurs first’); Ex. 5,
p. 6. Moreover, to the extent that Plaintiffs seek monetary damages, any such request under the
TILA must be made within one year from the consummation of the loan. See 15 U.S.C. §
1640(e). The parties executed the Mortgage on or around February 10, 2006. Any TILA
rescission claim therefore expired in 2009, over nine years ago. Thus, the TILA claims are
plainly untimely.

For the foregoing reasons, the Complaint should be dismissed under Federal Rule

12(b)(6) for failure to state a timely legal claim.

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CONCLUSION

The Complaint seeks to raise — for a third time — Plaintiffs’ purported claim for a rescission
of their Mortgage under TILA. Due to the prior state court rulings, this Court lacks subject matter
jurisdiction under the Rooker-Feldman doctrine. Similarly, the Complaint fails as a matter of law
because the doctrines of res judicata and collateral estoppel prevent Plaintiffs from relitigating the
same issues and claims in this action. The Complaint also fails to state a claim because any TILA
claim is now time-barred. Defendant Santander Bank, N.A. therefore respectfully requests an
Order granting its Motion to Dismiss the Complaint and any such further relief as this Court may
deem just and proper.

Respectfully submitted,

PARKER IBRAHIM & BERG LLC

/s/ Ken S. Massey

Ken S. Massey, Esq.

Counsel for Defendant, Santander Bank, N.A.., f/k/a
Sovereign Bank, N.A.

Dated: March 8, 2016

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